Case 1:15-cv-13617-FDS Document 87 Filed 03/22/18 Page 1 of 5
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Student v. Natick Public Schools BSEA #1408860R

CONSIDERATION/CLARIFICATION ON PARTIAL REMAND

I. ` lntroduction
The instant Claritication is issued pursuant to the District Court’s remand

By Memorandum and Order on Pla_intist Motion for Sumrnary Judgment, dated July 2 l, 2017
(hereinafter, “District Court Decision”), the District Court Denied Plaintiff"s Motion for
Sumrnary Judgment and remandedJ in part, my Decision of Juiy 24, 2015 (BSEA #1408860) to
the Bureau of Special Education Appeals (hereinafter, “BSEA”) for further proceedings
consistent With the District Court Decision. Speciflcally, this matter was remanded to “permit
the hearing officer to consider, or at a minimum clarify, whether the 2012-13 IEP Was reasonably
calculated to provide a FAPE [free appropriate public education] in the ‘least restrictive’
environment possible” and “Whether the 2013-14 IEP provided for an appropriate education in
the least restrictive environment.”

Because, as noted above, the Remand was ordered to “permit the hearing officer to consider, or
at a minimum clarify, Whether the 2012-13 IEP Was reasonably calculated to provide a FAPE in
the ‘least restrictive’ environment possible"’ and “whether the 2013-14 IEP provided for an
appropriate education in the least restrictive environment” there was no basis for hearing
additional testimony or admitting additional exhibits. Thus, the undersignedJ by Order dated
August 10, 2017, allowed the Parties (both of whom were represented by counsel) to submit
briefs with respect to the remand order on or before Septernber 8, 2017. On August 25, 2017, the
Parties jointly requested an extension of the deadline for submitting briefs until October 20,
2017. Their request Was allowed by Order dated September 14, 2017. Natick submitted its
Mernorandum of Law on Least Restrictive Environment on October 20, 201?. Parents submitted
their Brief Pursua_nt to BSEA Order Regarding District Court Rernand on October 23, 2017 and
the record closed at that time.

ll. ' Least Restrictive Environment

Under state and federal special education law, a school district has an obligation to provide
services in the “least restrictive environrnent.” 20 U.S.C. § 1412(a)(5)(A); Mass. Gen. Laws c.
71B, §§ 2, 3. See also 20 U.S.C. §1400(d)(1)(A); 20 U.S.C. § 1412(a)(1)(A); 34 C.P.R. §
300.114(a)(2)(i); 603 C.M.R. § 28.06(2)(c). The phrase “least restrictive environment” means
that, to the maximum extent appropriate, a student must be educated with other students who do

case 1:15-cv-1361`7-Fos. oocumem`arf i=ned 03/22/13 Page 2 of 5

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Case 1:15-cv-13617-FDS Document 87 Filed 03/22/18 Page 3 of 5

not have a disability, and that “removal . . . from the regular educational environment occurs
only when the nature or severity of the disability of a child is such that education in regular
classes with the use of supplementary aids and services, cannot be achieved satisfactorily.” See
also Burlz`ngton v. Mass. Deparzment of Educatian, 471 US 359, 369 (1985) (federal statute
“contemplates that such education will be provided where possible in regular public schools,
with the child participating as much as possible in the same activities as nonhandicapped
children”). Where there is tension between the educational services necessary to meet the needs
of a child (and to provide her with educational benefit) and the principles of least restrictive
»environment, “the desirability of mainstreaming must be weighed in concert with the Act’s
mandate for educational improvement . . . , requir[ing] a balancing of the marginal benefits to be
gained or_lost on both sides of the maximum benefit/least restrictive fulcrum.” Roland v.
Concord School Commz'ttee, 910 F.2d 983 (lst Cir. 1990).

When the Natick Team convened to consider Student’s placement for the 2012~2013 school year,
they considered three programs The iirst, the general education pro gram, with supports, was
preferred by the Parents, but deemed inappropriate by Natick because, based on Student’s IEP
from her prior placement and her test scores, Naticl_< did not believe that general education was
appropriate for her. (Administrative Record (“A.R.”) 413-414). The second option was
replacement classes, designed for students who have communication disabilities, language-based
learning disabilities, specific learning disabilities and reading difficulties Such classes provide
students with access to the regular curriculum, but material 1s presented at a slower pace. 'I'he
classes follow the Massachusetts curricular standards (Hea.ring testimony of Liptal<, Vol 3, pg.
143 .) The third option for Student was the Access Program, a substantially separate program,
with opportunities for inclusion, for students With intellectual disabilities and communication
difficulties (Hearing testimony of Michelson and Franciose) Natick, during both the May 2012 .
Team meeting and the July 2012 Tearn meeting, appropriately discussed each of the options and
determined which environment could appropriately meet Student’s needs. Although Parents’
strong preference was for general education, none of the Natick 'l`eam members believed that
Student’s [EP services could be provided, or that her needs adequately addressed, in the general
education setting, even with supports Although Student was described as organized, hard-
working, and cooperative, she had an intellectual disability m conjunction with weaknesses m
receptive and expressive language Based upon the information available to the Teain, Natick
did not believe even the replacement classes designed for students with communication
disabilities and taught at a slower pace would be appropriate for Student. Natick, thus, proposed
placement for Student in the Access Prograrn Where she would have received a modified
curriculum according to her abilities, as well as instruction in a small group. Mindful of its
obligation to provide Student with her services in the least restrictive appropriate environment,
Natick proposed that Student participate in general education electives. Such prograrning would
expose Student to general education peers, while also providing her With the specialized services
she required, including support for her significant language deficits, to make progress on her [EP
goals. (See Decision, July 24,2015,pgs.3-5,10,11.)

Not only did Natick’s proposed IEP for the 2012~2013 school year provide for appropriate
services in the least restrictive environment, but, Natick offered to reconvene the Team in
October 2012 to assess Student’s progress and the appropriateness of the program This would
have allowed Natick, after working directly with Student for`several weeks, to amend her IEP to

2

Case 1:15-cv-13617-FDS Document 87 Filed 03/22/18 Page 4 of 5

include additional time in less restrictive settings as appropriate Natick could have provided
Student with a continuum of less restrictive options through Which she could have moved as she
progressed However, after arguing that Natick’s proposal Was overly restrictive, Parents placed
Student in an out-of- district school for special education students where she would spend all of
her time in a substantially separate classroom without any exposure to general education peers.

Natick’s proposed lEP for the 2012-2013 school year would have provided Student with the
opportunity to independently access curriculum at her level, rather than relying on aides, as
would have been required in a general education setting. One of the stated purposes of the
lndividuals with Disabilities Education Act (“IDEA”) is “to ensure that all children with
disabilities have available to them a free appropriate public education that emphasizes special
education and related services designed to meet their unique needs and prepare them for further
education, employment, and independent living.” 20 U.S.C. § 1400(d)(1)(A); 34 C.F.R. §
300.1(a). Natick’s proposed placement would have satisfied IDEA’s purpose of better preparing
Student for future independence in education and employment by instructing and encouraging
her to perform more tasks independently while still in high school.

The record is clear that Natick balanced the benefits to be gained, namely Student being able to
independently access curriculum at a level and pace appropriate to her profile, against being
outside of the general education setting for much of her day in the more restrictive Access .4
classes. Therecord supports the Team’s determination that Student required specially designed
instruction in small group classes outside of the general education setting with a modified
curriculum to make progress during the 2012-2013 school year.

As noted m the Decision, the IEP for the 2013-2014 school year was substantially similar to that
proposed by Natick for the2 2012-2013 school year and continued to propose placement m
Natick’s Access Program.2 For the reasons explained above (and m in the original Decision). l
lind that Natick` s proposal for the 2013-2014 school year also would have provided Student with
a free appropriate public education in the least restrictive environment

III. Conclusion

The 2012-2013 lEP proposed by Natick was reasonably calculated to provide Student with a free
appropriate public education in the least restrictive environment 'l`he Team considered three
options and reasonably determined that the Access program was the least restrictive setting that
could adequately address Student’s specific needs. Further, Natick could have provided a
continuum of less restrictive options through which Student could have moved as deemed
appropriate by the Team.

 

l ln fact, after Student’s three-year evaluation, Natick did propose changes to Student’s program that provided her
with a general education social studies class with paraprofessional support as well as general education health and
electives with paraprofessional support (Decision July 24, 2015, pages 7-8.) Students in the Access Program were
routinely transferred to replacement classes as appropriate (Decision July 24, 2015, pagelO)

2 The 2013-2014 [EP also proposed vocational and community services which do not impact the analysis of the least
restrictive environment

Case 1:15-cv-13617-FDS Document 87 Filed 03/22/18 Page 5 of 5

Likewise, the 2013-2014 IEP, which was substantially similar to the 2012-2013 lEP was
reasonably calculated to provide free appropriate public education in the least restrictive setting
for the reasons delineated with respect to the 2012-2013 IEP.

By the He`aring Ofticer,

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Catherine M. Putney-Yaceshyrfl w
Dated: March 20, 2018

